     Case 1:08-cr-00201-OWW Document 37 Filed 09/26/08 Page 1 of 2


 1     J.M. IRIGOYEN #177626
       Attorney at Law
 2     J.M. IRIGOYEN LAW CORPORATION
       2131 Amador
 3     Fresno, CA 93721
 4     559.233.3333
 5     Attorney for Defendant
       PETER HALAMANDARIS
 6
 7                   IN THE UNITED STATES DISTRICT COURT
 8                 FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
       UNITED STATES OF AMERICA,  )          Case No: 08 cr 201 OWW
10                                )
            Plaintiff,            )          STIPULATION TO CONTINUE
11                                )          HEARING ON MOTION TO
            vs.                   )          WITHDRAW AS ATTORNEY OF
12                                )          RECORD
       PETER HALAMANDARIS,        )
13                                )
            Defendant.            )
14     ___________________________)
15           It is stipulated and agreed between the parties that the
16     MOTION HEARING in the above matter currently set for September
17     29, 2008, be continued to October 20, 2008 at 1:30 p.m.
18                I hereby agree to the above stipulation.
19     Dated: September 25, 2008
20                                       s/J.M. Irigoyen
21                                     _________________________
                                          by:J.M. Irigoyen
22                                        Attorney for Defendant
23
             I hereby consent to the above stipulation.
24
       DATED: September 25, 2008
25                                       s/Kimberly Sanchez
26                                       _________________________
                                         by: Kimberly Sanchez
27                                       Assistant U.S. Attorney
28

                                         1
     Case 1:08-cr-00201-OWW Document 37 Filed 09/26/08 Page 2 of 2


 1
                           ORDER CONTINUING HEARING DATE
 2
 3
 4     IT IS SO ORDERED.

 5     Dated: September 26, 2008              /s/ Oliver W. Wanger
       emm0d6                            UNITED STATES DISTRICT JUDGE
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